          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      BRYSON CITY DIVISION

                        CRIMINAL NO. 2:06CR12


UNITED STATES OF AMERICA        )
                                )
                                )
         VS.                    )                      ORDER
                                )
                                )
LORI JOAN FREAS                 )
_______________________________ )


     THIS MATTER is before the Court on Defendant’s motion to extend

her reporting date to the Bureau of Prisons to begin her sentence.

     For the reasons set forth in the motion and for cause shown,

     IT IS, THEREFORE, ORDERED that the Defendant’s motion is

ALLOWED, and the Defendant’s reporting date to the designated prison

facility is hereby DEFERRED to and after October 22, 2007.

     The Clerk of Court is directed to provide copies of this Order by

electronic transmission to the Defendant’s attorney, the United States

Attorney, the United States Marshal, the United States Probation Office,

and to the Warden of the designated prison facility.




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                                Signed: August 15, 2007




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